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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
   UNITED STATES OF AMERICA,                         Case No. 23-80101-CR
                                                     CANNON/REINHART
   vs.
   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,
                  Defendants.


         DEFENDANTS’ MOTION FOR AN EXTENSION OF REPLY DEADLINES

         President Donald J. Trump respectfully submits this motion, on behalf of all of the

  Defendants, for an extension of the deadlines for filing certain reply submissions in support of

  pending pretrial motions. The Special Counsel’s Office opposes this request.

         The current deadline for submitting replies is March 14, 2024. In anticipation of the March

  14 hearing, President Trump will file replies in support of the pending motions relating to the

  Presidential Records Act, ECF No. 327, and the Espionage Act, ECF No. 325, on the afternoon of

  March 13. The Defendants respectfully request permission to file replies relating to the other

  pending motions by March 24.

         The reasons for this request are that (1) the Defendants and counsel need to travel to Fort

  Pierce prior to March 14 in order to participate in the hearing, which is time we would otherwise

  use to prepare the other reply submissions; (2) President Trump and counsel need to spend time

  preparing for the oral argument, which is time we would otherwise use to prepare the other reply

  submissions; (3) President Trump and counsel are currently preparing for a trial in New York,

  New York that is scheduled to begin on March 25, 2024, and the need to simultaneously devote

  attention to that case and this matter has been necessitated in part by the discovery violations and

  strategic scheduling demands of the Special Counsel’s Office that have prejudiced President

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  Trump in multiple respects; (4) on March 12, counsel for Defendants Nauta and De Oliveira are

  reviewing physical evidence possessed by the Office that is potentially relevant to their reply

  submissions; and (5) Defendant Nauta is in the process of conferring with the Office regarding

  access to materials relating to grand jury practices in the District of Columbia that are relevant to

  his reply in support of pending selective and vindictive prosecution motion.

         The Defendants have no intention of causing unnecessary delay in these proceedings.

  Allowing additional time to file reply submissions that meaningfully address the opposition filings

  by the Special Counsel’s Office will contribute to the orderly resolution of the pending motions.

  Moreover, the pending motions for an order regarding the scope of the prosecution team and to

  compel discovery, ECF No. 262, are relevant to several of the pretrial motions for which additional

  time is being sought. The resolution of the discovery motions is very likely to require supplemental

  briefing regarding the pretrial motions. Therefore, we respectfully submit that no actual delay or

  prejudice to the Office would result from the extensions we are seeking. Accordingly, the

  Defendants respectfully request an extension, until March 24, 2024, to file reply submissions in

  support of pretrial motions other than those relating to the Presidential Records Act and the

  Espionage Act.

    Dated: March 11, 2024                            Respectfully submitted,

                                                     /s/ Todd Blanche
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                                                     /s/ Christopher M. Kise
                                                     Christopher M. Kise

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                                 CERTIFICATE OF SERVICE

        I, Christopher M. Kise, certify that on March 11, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.

                                                   /s/ Christopher M. Kise
                                                   Christopher M. Kise




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